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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA


IN RE: AIR CRASH OVER THE
SOUTHERN INDIAN OCEAN ON MARCH
8, 2014


This Document Relates To:

1:16-cv-00439-KBJ
Smith v. Malaysia Airlines Berhad et al;

1:16-cv-01048-KBJ
Zhang, et al, v. Malaysia Airlines Berhad et
al;
                                               MDL Docket No: 2712
1:16-cv-01063-KBJ
                                               Misc. No. 16-1184 (KBJ)
Huang, et al. v. Malaysia Airlines Berhad et
al.

2:17-CV-00608-KBJ
Keith v. The Boeing Company

1:16-cv-01062-KBJ
Kanan, et al. v. Malaysia Airlines System
Berhad et al.

1:16-cv-01159-KB
Kanan v. Boeing




           PLAINTIFFS’ RESPONSE IN OPPOSITION TO DEFENDANTS’ JOINT

     MOTION TO DISMISS ON THE GROUND OF FORUM NON CONVENIENS
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      The above-captioned Plaintiffs submit this memorandum in opposition to Defendants’ Joint

Motion to Dismiss on the Ground of Forum Non Conveniens (D.E. 37).


                                     MEMORANDUM
       I.      The President of the United States of America Promised Help

       On March 21, 2014, the President of the United States promised these plaintiffs, families

of the relatives of MH370, in English and Chinese, that the United States of America would do

“…all we can to help in the search efforts to find the plane that carried your [family members]”.

See Exhibit A. The loss of MH370 was no isolated incident affecting only Malaysia. The United

States has an overwhelming interest in the loss of MH370 as clearly reflected in the words of the

President, sent from the White House.

       II.     Introduction: Very Little Evidence, If Any, Left in Malaysia

       Malaysian Airline System Berhad (“MAS”), Malaysia Airlines Berhad (“MAB”), Allianz

Global Corporate & Specialty SE (“AGCS”) and The Boeing Company (“Boeing”) (all defendants

herein except Henning Haagen), moved this Honorable Court for an order dismissing the above

captioned cases on the grounds of forum non conveniens. D.E. 37-1. The defendants state their

reason therefore is that all of the evidence is in Malaysia, D.E. 37-1, p.1, ¶2;

       It is not; almost no evidence is in Malaysia – a fact confirmed in Malaysia’s Safety

Investigation for MH370. D.E. 37-4. There is no finding of causation nor any conclusions in the

Malaysia report.

       Defendants request this court perform a “straightforward application of the Supreme

Court’s decision in Piper Aircraft Co. v. Reyno, 454 U.S. 235(1981). D.E. 37-1, p. 1, ¶3.

Defendants also attached an Appendix A which they purport and entitle, “Federal Forum Non

Conveniens Decisions Involving Aviation Accidents, 1980 – present.”                D.E. 37-2, p. 1-5.


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Defendants’ Appendix A is not a complete list – defendants omitted decisions in federal courts

refusing to invoke forum non conveniens and refusing to dismiss the case. There are many such

cases in which the federal courts rejected forum non conveniens motions and defendants know this

– Boeing and even MAS were themselves the moving defendant in several cases in which the

forum non conveniens motion was rejected by U.S. courts. But even if Defendants’ Exhibit A was

an accurate and complete list, the defendants’ Appendix A would not be determinative, because

the Court’s analysis of forum non conveniens depends on the facts of each case.

       Boeing, Delaware corporation, which manufactures planes in the states of Washington and

South Carolina, and reaps billions of domestic tax benefits from Washington and South Carolina,

has been forum shopping for decades. Boeing almost never claims, argues or concedes that the

honorable courts of the United States of America and litigation in the United States of America,

its home nation where it makes its planes and takes billions from U.S. taxpayers, is a more

convenient forum for Boeing than litigating in, for example, Indonesia, Taiwan, Peru, Mexico or

other lonely planet outposts. There are exceptions – Boeing agreed to stay in the United States

when Egypt Air blamed it for the crash of Egypt Air into Atlantic Ocean off Nantucket Island on

Oct. 31, 1999. See In Re Air Crash Near Nantucket Island, 2004 U.S. Dist. LEXIS 16085.

       Boeing prefers litigation in the far flung countries of the world than its own home nation,

our nation’s capital, homes of its corporate offices in Illinois or New York, or its first and second

largest facilities in the world—Washington and South Carolina. (See Kuker, Amanda S. (2011)

“An Analysis of South Carolina’s Incentives to the Boeing Company,”South Carolina Journal of

International Law and Business: Vol. 8: Iss. 1, Article 6) Even courts in some of Boeing’s “back

yards” found Boeing’s claims of inconvenience to litigate at home to be “incredulous,” Ellis v.

AAR Parts Trading, Inc., 357 Ill. App.3d 723, 743, 2005 Ill. App. LEXIS 77 (1st Dist. 2015), In re



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Air Crash Disaster Near Palinborg, Indonesia on December 19, 1997, 200 U.S. Dist. LEXIS

22950 (W.P. Wash. 2000). MAS and MAB too are suspect in these FNC claims, having been

parties to lawsuits in many U.S. states, sued in the U.S. to answer for Warsaw claims, assault and

battery, price fixing and antitrust activities and all manner of complained of activities. (See

Plaintiffs’ Response to Defendants’ Motion to Dismiss based on the Foreign Sovereign Immunities

Act, incorporated herein by reference, D.E. 65, pages 16-19)

       III.    The Facts


       A. The Plane Was Designed and Manufactured in the U.S.

       The MH370 Boeing 777-200, like all Boeing 777-200s, was designed, engineered,

manufactured and assembled in the United States of America. On May 29, 2002, the United States

Federal Aviation Administration (FAA) certified for export the MH370 plane. (See D.E. 37-4, p.

43.) No part of the design, engineering, manufacturing or assembly was accomplished in

Malaysia, nor do Defendants so allege.

       Plaintiffs in their complaints alleged defects in design, manufacturing and assembly of the

MH370 aircraft and alleged it was unreasonably dangerous. See, for example, Keith complaint,

D.E. 1, 2:17-cv-00608-KBJ. Boeing contracted with suppliers from around the world to deliver

parts to the United States of America to assemble the 777. If any of those suppliers to MH370 was

in Malaysia, Defendants failed to mention them in their myriad submissions to this Honorable

Court. For Boeing’s own description of its relationship with Malaysia, MAB and MAS, See

Exhibit B. All the design, engineering, manufacturing and assembly records for the Boeing 777-

200 are in the United States of America and these are the records Plaintiffs need to litigate a

products liability case.

       B. Records and Investigations of Problems on the Aircraft Type are in the U.S.

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       After the design, engineering, manufacture and assembly of an aircraft, the design

engineering, manufacture and/or assembly are often found to be defective and unreasonably

dangerous. Boeing, like all aircraft designers, engineers, manufacturers and assemblers, has

experienced hundreds of thousands of defects after delivery of its aircraft. United States law

requires Boeing, like all United States aircraft companies, to be responsible and take action to warn

users of its products of defects. In fact, despite its flaws and occasional failures, the U.S. system

to warn through airworthiness directives and other warnings may be the only way that aircraft

operators get warnings and advice about problems with its aircraft. These alerts have the force of

law in the United States of America. Airworthiness directives are so serious that failure to inspect

and repair as set forth in the warnings results in the aircraft being deemed unairworthy. When an

aircraft is deemed unairworthy it is against the law to fly it in the United States or for any United

States flagged air carrier or anyone operating with United States flight certification (with

exceptions granted by the FAA for empty “ferry flights” to transport a plane to a repair facility).

       According to the United States FAA, right now the Boeing 777-200 has 169 current and

195 previous (but still posted on the FAA website and thus still being accomplished and completed

in some cases) airworthiness directive warnings to operators of 777-200 aircraft to make

inspections and repairs on the Boeing 777-200 or risk unairworthiness or even the loss of the plane.

See Exhibit C.

       All those records, investigations, and findings and even identification of where in the world

fleets the affected aircraft are in service relevant to the 364 Airworthiness Directives currently

posted on the FAA website are in the United States of America, and almost all of it at Boeing,

because Boeing develops the submission to the United States government to get the airworthiness

directives with the FAA for Boeing aircraft. As shown on Exhibit C, many of those defects



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concern potential electrical and structural failure of the 777-200. Plaintiffs alleged electrical

systems and structural failure on the MH370 777-200.

       The Malaysia investigation similarly concluded MAS had complied with the Airworthiness

Directives due to be complied with by the date of loss. That means the airline had acted on the

airworthiness directive by the deadline for compliance with the particular airworthiness directive.

D.E. 37-4, p. 47, ¶1.6.3.5. No mention was made of any examination into the subsequent

Airworthiness Directives which affected this 777-200 aircraft. All the records of those problems

known to affect the 777-200 are in the possession of Boeing.

       C. The Malaysian Investigation Did Not Identify Problems

       The Cockpit Voice Recorder (CVR) which records all flight deck sounds and crew

communications picked up on different channels from microphones in the cockpit, and the Flight

Data Recorder (FDR) which records the most recent 25 hours of 1300 parameters such as engine

and control settings, are among the most important pieces of evidence of an airplane disaster. They

are so important they have their own emergency locator transmitters that are supposed to work

underwater. They have their own battery power too. D.E. 37-4, p.77-80. The battery on the

MH370 FDR expired in 2012. The battery on the MH370 CVR was to expire in 2014. The FDR

and the CVR were never found. Therefore there is no FDR and CVR evidence or analysis in

Malaysia. There were problems experienced in finding MH370 because the FDR and CVR as

designed, installed and equipped by Boeing as alleged in Plaintiffs’ complaints and all records of

this design, install and equipping are in the United States.

       The Malaysia investigation report found no problems with the pilots and other crew,

training, maintenance, security and cargo. Therefore, since the Malaysian report concludes there

were no problems found with these personnel and systems, there are no records pertaining to



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problems with the pilots, crew, training, maintenance and security and cargo in Malaysia. See

Defendants’ Exhibit 4, D.E. 37 for the full report.

       D. The Investigation Was In English

       The Malaysia report is in English. In Defendants’ memorandum and affidavits filed with

the motion, Boeing stated it provided everything the Malaysia investigators requested of Boeing.

The requests were in English. Boeing provided its data, responses and studies in English. The

Australian investigation was largely conducted in English, and is discussed below.

       No Plaintiffs herein are Malaysian. No plaintiff speaks Malay or any Malay dialect. No

Plaintiffs’ damages information is in Malay. All reports from Australia are in English.

       E. The Investigation After the Government Concludes

       The Malaysia report (D.E. 37-4) did not conclude what happened to cause the loss of

MH370. Some may assume that therefore the factual inquiry and investigation are at an end—that

the plaintiffs present the official investigation to the court as evidence of what happened. Of course

this Honorable Court knows that is not the case. Parties to litigation do not and cannot use the

conclusions of the safety investigation as evidence in court. In the United States the law is 49

U.S.C. § 1154(b) which states: “No part of a report of the [National Transportation Safety] Board,

related to an accident or an investigation of an accident may be admitted into evidence or used in

a civil action for damages resulting from a matter mentioned in the report.” Thus, in air crash

litigation, plaintiffs’ and defendants’ with their assembled team of experts literally must re-do the

investigation. Parties assess the facts that are known or can be gleaned from the evidence---

including design, engineering, manufacturing, assembly, air worthiness directives, information

gleaned from other air crashes, scientific studies and tests—and parties’ experts opine for the court

and jury what occurred and what caused the loss.



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       Boeing in its Memorandum in Support and in Affidavits (D.E. 37) described what it

provided to MH370 investigators. Boeing undoubtedly kept copies, but that is a small part of the

evidence and information the parties need to re-investigate, re-construct, and determine what

likely happened and present conclusions of causation and responsibility to the court and jury.

Boeing did not specifically state in Defendants’ Memorandum in Support, if it provided design,

engineering, manufacturing and assembly records, the operating and training manuals, any

internal investigations and analysis of MH370 and similar accidents, airworthiness directives,

and reports from other carriers to Boeing of similar problems on 777-200s. Boeing may have, but

Plaintiffs don’t have access to the Boeing submissions.

       These documents are all in the United States of America. The personnel Boeing states it

sent to the investigation are all in the United States of America. See D.E. 37. All the experts

plaintiffs will call in their products liability case are located in the United States of America.

Plaintiffs agree to travel to the United States of America from China to give depositions and will

provide translators to translate from Mandarin (or other Chinese dialects) into English. There is

no burden on defendants for this litigation to be carried out in the United States; there is an

incontrovertible burden to the Plaintiffs if it is not in the United States.

       Now, if MAS and MAB provided all its relevant records to the Malaysia investigators; and

Boeing provided all the records the investigators requested; and if Malaysia investigators, did not

find the causal facts, it is clear the answers to this mystery are not in Malaysia. The investigators

in Malaysia obviously did not have the evidence they needed. Plaintiffs have alleged the evidence

that evidence is with Boeing in the United States.

       G. Australia




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      With the Malaysia investigation failing to identify the causes, we turn our attention to the

Australia investigation. According to the affidavits, Boeing also provided analysis and personnel

to Australia. Surely Boeing kept copies of its work, but if it did not, that work is in Australia, not

Malaysia, and that work is in English. Australia issued its own separate reports—in English. The

Australian reports are attached hereto as Exhibits D - Q. The Australian reports provide more

information about causation than the Malaysian reports.

      H. Defendants Request to Go to Malaysia to Litigate

      Boeing states it will agree to go to Malaysia to litigate, but there is no such agreement from

the witnesses from Australia and China, and no such agreement from MAS, MAB and AGCS (or

Haagen), and no agreement from any defendant to agree to U.S.-style discovery. With the

defendants providing no agreement to participate in U.S.-style discovery, sending the Plaintiffs

from the U.S. would be a fatal blow to Plaintiffs’ products liability case.

      I.       Argument

               A. Not an Adequate Forum

       This court must first consider whether Malaysia is an available and adequate forum. The

defendants state Malaysia is an adequate forum, but the cases Defendants cite for that position are

D.E. 37-1, p.3 ¶1. Instead of providing demonstrative cases, Defendants claim Malaysia is

adequate because it “derives from British rule and has been held adequate in other cases.” Id. But

defendants’ reliance on “British rule” is misplaced because the United States Supreme Court states

in Piper v. Reyno this Honorable Court’s analysis must be based on the facts specific to the case,

and in this case Malaysia is neither available or adequate based on the facts of this case. In addition

to the Malaysia investigation with no cause found, there are many additional reasons why Malaysia




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is not an available forum. First and foremost is the fact Malaysia already acted to destroy the ability

of Plaintiffs to proceed in Malaysia.

       By Malaysia Law 765, there is nothing left of MAS except one “Administrator” who has

no MAS property, records or assets to administer. All of MAS was transferred to MAB. See

Zhang complaint p. 14. Defendants at D.E. 37-9 attach Malaysia Act 765, which was extensively

pled in Plaintiffs’ Complaints. Defendants argue that because there is an Administrator, MAS is

still in existence and can be sued.

       The fact that Malaysia is not an adequate and available forum is also demonstrated by the

great lengths to which Malaysia went to insulate MAS and MAB. For example:

       The facts as set forth in Plaintiffs’ complaint and Plaintiff’s response to Defendant’s ACGS

and Haagen, include but are not limited to the following:

               1. On August 8, 2014, according to the Malaysian Airlines System Berhad (MAS
                    Company No.: 10601-W) Quarterly Report for the Third Quarter Ended 30 June
                    2014, the Government of Malaysia through its wholly owned fund the
                    Khazanah Nasional Berhad (KNB), told MAS that it was, “proposing the
                    privatization of the company by way of selective capital reduction and
                    repayment exercise.”
               2. No notice was given to the families of the missing on MH370 about the planned
                    looting of MAS assets, gutting of MAS, delisting of MAS, and death of MAS.
                    Selective payments or transfers of assets were made to creditors (also called
                    “charges”) deemed by MAS and/or the Malaysia government to be “relevant”
                    and no passengers or families of passengers of MH370 were included among
                    the creditors or charges listed by MAS 10601-W or by MAB 1116944-X.
               3. MAS also admitted in its Quarterly Report for the Second Quarter Ended 30
                    June 2014, and in its Quarterly Report for the Third Quarter ended 30
                    September 2014, that it intended to leave the passengers and families of MH370
                    with no recourse other than the insurance policy, which it has failed and refused
                    to disclose stating as follows:
               (ii) Flight MH370
                        “Following the disappearance of flight MH370, next-of-kin of the
                        passengers are entitled to receive compensation for the losses they
                        suffered upon the announcement of a declaration of loss. The

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                          compensation amounts payable to the next-of-kin of the passengers
                          will be covered by the Company’s aviation liability insurance policy
                          and will be determinable upon submission and verification of the
                          losses suffered by the respective next-of-kin.
                 4.   These compensation amounts payable are expected to have no
                      significant impact to the Company’s financial statements.
                 5.   On November 6, 2014, the “shareholders” of MAS (and the Government
                      of Malaysia, through its wholly owned government fund KNB)
                      approved the so called “privatization”.
                 6.   On November 7, 2014, MAB was registered and incorporated.
                 7.   On November 27, 2014, a bill was introduced and approved to help
                      MAS avoid its liability, responsibility and damages to MH370 (and
                      other) passengers by the Government of Malaysia (specifically the
                      Dewan Rakat, The House of Representatives or “People’s House” of
                      Malaysia). This bill became Act 765 when adopted.
                 8.   On December 30, 2014, the Royal Assent (signed by the King) of the
                      Government of Malaysia was affixed to Act 765 of the Laws of
                      Malaysia, marking the death and end of MAS.
                 9.   Despite claiming that MAS and MAB are separate companies, and that
                      MAB is not a successor company to MAS, according to official filings
                      with the Suruhaujaya Syarikat Malaysia Companies Commission (the
                      Malaysia Registrar of Companies) of Malaysia, Defendant Malaysian
                      Airlines System Berhad (MAS), known as “Malaysia Airlines”
                      Company Number 10601-W, incorporation date April 3, 1971 states
                      that its old name is “Malaysia Airlines Berhad.” Defendant Malaysia
                      Airlines Berhad (MAB), which is also known as “Malaysia Airlines” is
                      company number 1116941-X, incorporation date November 7, 2014, is
                      also known as “Malaysia Airlines” and the persons in leadership
                      positions at the alleged two separate Malaysia Airlines are virtually
                      identical, except for one individual who did not transfer from MAS to
                      the MAB Board of Directors, as summarized in the following chart:

                           Malaysia Airlines                             Malaysia Airlines
                               03-04-1971                                    07-11-2014
Type            Limited by Shares                             Limited by Shares
                Public Limited                                Public Limited
Status          Existing                                      Existing

Directors       Md. Nor Bin Md. Yusof, Tan Sri                Md. Nor Bin Md. Yusof, Tan Sri
                Mohamadon Bin Abdullah, DR                    Mohamadon Bin Abdullah, DR
                David Lau Nai Pek                             David Lau Nai Pek


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                  Tan Boon Seng                                       Tan Boon Seng
                  Sukarti Bin Wakiman                                 Sukarti Bin Wakiman
                  Mohamad Morshidi Bin Abdul Ghani                    Mohamad Morshidi Bin Abdul Ghani
                  Mohd Irwan Serigar Bin Abdullah                     Mohd Irwan Serigar Bin Abdullah
                  Mohammad Izani Bin Ashari                           Mohammad Izani Bin Ashari
                  Mohammed Shazalli Bin Ramly, Dato                   Mohammed Shazalli Bin Ramly, Dato
                  Mohd Shahazwan Bin Mohd Harris                      Mohd Shahazwan Bin Mohd Harris
                  Christopher Romanus Mueller                         Christopher Romanus Mueller
                  Ahmad Jauhari Bin Yahya
Manager           Christopher Romanus Mueller                         Christopher Romanus Mueller

Shareholders      Khazanah Nasional Berhad (a fund totally            Khazana Nasional Berhad (a fund totally
                  owned by the Government of Malaysia)                owned by the Government of Malaysia)
                  Total shares – 11,592,389,201                       Total shares – 999,998

                                                                      Azizah Hanum Binti Haji Md. Tamat
                                                                      Total shares – 1

                                                                      Rosemun Bin Hassan
                                                                      Total shares - 1
Charges or        319 Listed                                          100 Listed
Obligations       113 satisfied                                       All unsatisfied
of Company1       206 unsatisfied



                   10. Even the Twitter accounts are identical for the alleged two Malaysia Airlines,
                       both using the handle @MAS, including on the same day.
                   11. But the Court of Malaysia refused to allow Plaintiffs to sue MAB in Malaysia.
                       Therefore, Malaysia is unequivocally not an available forum for MAB
                       because the court and administrator have already forbidden it and thrown the
                       cases out.




  1
   Many are the same for both companies. No claims or damages of any passenger of MH370 (or MH17) and no
  personal representatives, family member or estate of any MH370 (or MH17) passenger were listed as charges of
  either company.

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     12. Act 765 of the Laws of Malaysia was enacted to assist Malaysia Airlines, both
         MAS and MAB, defeat their liabilities, obligations, responsibilities, and
         damages owed to the passengers of MH370 (and presumably also to the
         passengers of MH17). Act 765 impaired the rights and abilities of the families
         to seek redress for the loss of their loved ones and left no viable airline
         defendant as defined by M99 and no assets other than the aviation liability
         insurance now controlled by Defendant Allianz’s defense attorneys.
     13. In Paragraph 21(3), Act 765 provides in part: Prior to the implementation of the
         proposal, the Administrator shall send a copy of the proposal and the report of
         the Independent Advisor by registered post to the last known address of or
         through electronic medium to each of the creditors of the Administered
         Companies affected by the terms of the proposal.
     14. But Plaintiffs were denied legal notice. No Plaintiffs, nor any other family
         members of Plaintiffs’ passengers, nor their personal representatives, nor their
         attorneys, were sent a copy of the report of the Independent Advisor by
         registered post or by electronic medium, or by any means whatsoever. No
         Plaintiffs, the next of kin of passengers of MH370 or other family members of
         MH370, nor their representatives, were given any notice under Act 765 or as
         described in or contemplated by Act 765.
     15. Act 765 further states, in Paragraph 21(6): Notwithstanding the failure to notify
         any creditors of the Administered Companies and persons affected by the terms
         of the proposal in accordance with the requirements of subsection (3), such
         failure shall not affect the validity of the proposal.
     16. Therefore Paragraph 21(6) further destroyed any reasonable opportunity for

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                   Plaintiffs to be advised that the Administrator under Act 765 could proceed
                   despite ignoring and failing to include among any of the charges (creditors) of
                   the company, the liabilities, obligations, responsibilities and damages owed to
                   families of passengers of MH370.
               17. Act 765 states that the successor MAB formed on November 7, 2014 is not a
                   successor to the previous MAS, but that provision is not further defined other
                   than to state it addresses employment related issues with Malaysia Airlines’
                   former and or current employees and unions.
               18. There is no statement in Act 765 that MAB may not be deemed to have
                   successive liability in areas other than employment issues. However, Act 765,
                   Paragraph 29(1), states that any liability that may be transferred to the successor
                   Malaysia Airlines (MAB) must be transferred by the Administrator, but the
                   Administrator has failed and or refused to transfer MAS liability to MAB.
               19. Furthermore, in MH370 cases filed in Malaysia, the Administrator and MAB
                   have insisted that the Malaysia Airlines formed on November 7, 2014 (MAB),
                   is not a successor corporation to MAS and the Administrator and/or MAB have
                   moved to dismiss all such claims and cases.
               20. Therefore, pursuant to the action of the laws of Malaysia, specifically Act 765,
                   Malaysia Airline System Berhad Company Number 10601-W (MAS), the
                   carrying or actual carrier and “the person liable” has ceased to exist and is
                   effectively “dead” under the definitions of M99; all operations have ceased and
                   all assets, shares and equity of MAS have been disposed or assigned; Act 765
                   states the new Malaysia Airline Berhad Company Number 1116944-X (MAB),
                   is not a successor corporation and is in no way liable for MH370; and the MAS
                   Administrator has moved and dismissed all cases against MAB.

       Thus, the facts and Malaysia Law 765 makes it clear that in this case Malaysia is not an

available and adequate forum, despite Defendant’s insistence that Malaysia is an available and

adequate forum, and it has been held adequate in other cases.” D.E. 37-1, p.13 ¶1


       Defendants claim Malaysia an available and adequate forum because, “The Malaysia legal

system derives from British rule.” D.E. 37-1, p.13 ¶1 This is tantamount to claiming American

patriots in 1776 could have received a fair trial in King George’s England. Plaintiffs herein have

openly opposed the “King” and government of Malaysia. The Administrator carrying out the

orders of the King and government as set forth in Act 765 refused plaintiffs permission to sue until


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they filed suit in the United States of America. The legislature and the administrator of the King

in Malaysia have already proclaimed that MAB cannot be sued, and they have already ruled

nothing is left of MAS.

       J. Only Boeing Provided Assurance of Appearance if Dismissed to Malaysia

       There is little hope for these families to seek justice in Malaysia, until and unless all

Defendants provide the same assurance Boeing did – to submit to the jurisdiction of the courts, to

provide evidence and witnesses, to waive statutes of limitations, to pay any judgment, to participate

in discovery, etc. But only Boeing provided such assurances -- no airline defendant did.

       Given the actions of the Malaysian government and the failure of Defendants to provide

assurances they will not contest liability, will participate in the U.S.-style discovery, and will

promptly pay judgments, will produce evidence and witnesses, it is clear what the Plaintiffs may

face in Malaysia. Boeing blames MAS; MAS no longer exists; MAB can’t be sued; no assets of

MAS exist; and the defendants refuse to provide discovery documents and witnesses, and claim

they are beyond the jurisdiction of the Malaysia court.

       Unless and until all Defendants provide assurances as Boeing did, this Honorable Court

should not consider Defendants’ FNC motion.

                                  The Australian Reports
       As discussed above, the Australian investigation, not the Malaysian investigation,

provides the only statements about causes for what happened to MH370. The Australian reports

are attached hereto as Exhibits D to S. They are all in English; some are also in Chinese; none

are in Malay or any other language or dialects spoken in Malaysia except Mandarin. The ATSB

credits Boeing and Boeing analysis in most of the reports.




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       Those reports make several findings. The June 26, 2014 report concluded, “The first

stages of the unresponsive crew/hypoxia event type appeared to best fit the available evidence

for the final period of MH370’s flight…”. (Exhibit E, page 34.)

       The December 3, 2015 report states, “Power loss occurred at some point between the

times [17:07:48 and 18:03:41].” The content of the report makes it clear this refers to electrical

power, not that engines have stopped. (Exhibit F, page 9, chart.)

       The December 3 report was amended on December 10, 2015, and states, “Power loss to

the SD11 occurred at the same point between these times [17:07:48 and 18:03:41].” Again, the

content of the report makes it clear there is electrical power loss, not engine loss. (Exhibit F,

page 9, chart.)

       The fact that there are two versions of the December 2015 reports appears to concern

defendant Boeing as Boeing has in pleadings criticized Plaintiffs for citing the December 3

report rather than the December 10 report. Plaintiffs were not allowed to participate in the

investigation; Boeing did. Any changes in the December 3 report would appear to be something

about which Boeing is knowledgeable.

       Defendant Boeing’s great concern about the “loss of power” as discussed in the Australia

reports is highly significant. A flight crew confronted with such a loss of power would, if time

permitted, resort to aircraft, flight and operation manuals, and their training, all developed and

sold by Boeing in English in the United States.

       And while no word was ever heard again from the pilots, the ATSB report, aided of course

by Boeing, provided invaluable information absent from any Malaysian report. The Australian

reports tell us the last voice contact with MH370 came 37 minutes after takeoff. The Captain signed

off with air traffic controllers in Kuala Lumpur stating, “Good night, Malaysia 370.” Thereafter



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the transponder blip indicating the aircraft’s position on the Kuala Lumpur air traffic control radar

screens disappeared indicating that the transponder was no longer sending signals and at the same

time the aircraft turned around and headed back towards Malaysia. The ATSB did not indicate

what caused the power loss, but one system on the aircraft was able to recover its on its own after

the power loss and continue functioning. This is highly significant. After contact was lost with

MH370, the airplane itself sent a message, what the world has come to know as an electronic

“handshake,” to an Inmarsat satellite. An Inmarsat ground station in Australia, not Malaysia,

recorded seven electronic handshakes or data points that were transmitted automatically from the

777 aircraft. The first handshake was recorded before MH370 took off. Thereafter handshakes

were sent at hourly intervals. The SDU system used to transmit the handshakes to the satellite was

able to reboot itself after the power failure and was able to send the subsequent handshakes for the

rest of the flight while the other aircraft systems like the transponder and ACARS remained silent.

The ATSB explained the power loss in one of four possible ways:

           1. Loss of AC power requiring an APU auto-start or

           2. Intermittent technical failures

           3. The circuit breakers in the electronic and equipment bay being pulled and then later

               reset or

           4. The cycling of the left generator and backup generator switches with the bus tie

               isolated (all switches are located on the overhead panel in the cockpit), or

(See Exhibit F, page 9)

       The source of these electrical scenarios and the other analyses in the Australian reports are

credited to the Australian Defense Science and Technology Group and Boeing, and the report

states they agreed with each other. (Exhibit F, page 3) Two of these scenarios, the two human



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scenarios, # 3 and #4 above, would require Boeing 777-200 training and Boeing aircraft, operations

and flight manuals – including how to cycle the generators and back-up generators with the “bus

tie isolated”; how to open in the hatch in the floor, go down below the flight deck level into the

main equipment center and pulled out circuit breakers; and then later repeat these steps to go back

down under the aircraft floor to reset the circuit breakers.

       Is this expertise included in Boeing training and manuals, or is this the most unlikely of the

4 scenarios? Did Boeing training and manuals teach pilots to cycle the generators? If so, were

pilots following any Boeing prescribed procedures in the event of emergency, abnormal or

nonnormal situations? Are procedures #3 and #4 a response to an aircraft system failure or aircraft

emergency?

       But here’s the irony. The satellite data unit (hereinafter SDU) which sent the “handshakes”

to Inmarsat in Australia was not located on the overhead panel of the cockpit or in the main

equipment center below the flight deck below the aircraft floor, but in the roof of the cabin where

the SDU antenna is also located. According to the ATSB, it was Boeing and the DST group that

hypothesized MH370 flew on autopilot until the aircraft ran out of fuel, first the right engine

followed by the left engine 15 minutes later, and then the 777 descended in a gliding circle covering

as many as 100 nautical miles hitting the water, uncontrolled (but meaning that only no pilot was

directing it) but it was still stable. The seventh “handshake” from the aircraft was sent

approximately 10 minutes before the aircraft hit the water. The satellite data unit lost power from

both engines but the auxiliary power unit automatically started again. That took about a minute to

restore power because the power had been interrupted. Then the satellite data unit began to

automatically log on again with the Inmarsat satellite and had completed the process within

seconds of the aircraft crash thereby giving Inmarsat, the ATSB and Boeing one more clue as to



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the final position of the airplane which Boeing used in its analysis to provide to the investigators

in Australia. Plaintiffs can obtain that information in U.S. discovery. Will Boeing agree to

cooperate to provide such information if the case is transferred to Malaysia?

       K. Debris Reports

       Boeing had other pieces of evidence provided to it, but not from Malaysia. A piece of

wreckage called a flaperon washed ashore on Reunion Island near Madagascar, off the coast of

Africa. A flaperon is a part unique to the Boeing 777. There’s one flaperon on each wing it and is

close to the fuselage. A flaperon is a control surface. When the flaperon was found on Reunion

Island and thereafter flown to France to the French BEA, France called Boeing to interpret this

piece of evidence. Australia has issued five wreckage reports, after consultation with Boeing,

which means Boeing still has the manufacturing records for this aircraft.

       According to the defendant’s brief, (Doc. 37-1, page 16, paragraph 2) Boeing claims its

role in the investigation was limited to providing technical advice under the direction of the NTSB.

It is clear from the Australian reports Boeing did much more than the NTSB. Boeing also claims

on page 16 of Decendant’s Memorandum (D.E. 37-1) that it has no copies of documents collected

or created by the investigative authority relating to many aspects of the investigation. That is hard

to fathom – U.S.-style discovery is needed to examine what Boeing retained.

       Defendants also claim that defendants could not be impleaded in the United States. No

explanation or examples are provided. Defendants also erroneously state that if litigation went

forward in the U.S. and Malaysia at the same time, there would be a risk of inconsistent verdicts.

This statement is plainly disingenuous because the plaintiffs would simply dismiss the litigation

in Malaysia, or seek dismissal of those Defendants against which Plaintiffs can proceed in the U.S.

litigation. Defendants already know that plaintiffs moved to stay the Malaysia proceedings, and to



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date they have been stayed because there is an appeal on the initial decision not to stay the

proceedings. Thus the cases have not proceeded in Malaysia. Further, the Malaysia court at the

insistence of MAB is already dismissing MAB from the Malaysian litigation. Finally, the

defendants summarily contend that the greatest public interest is Malaysia, not the U.S. Defendants

are wrong. The greatest public interest is obviously with the citizens of the United States of

America, flying on planes that Boeing manufactures in the states of Washington and South

Carolina, and it is Americans who fly on them more than any other nation in the world.

       The greatest interest in this investigation is obviously the United States of America where

Boeing manufactures, designs, engineers and assembles its aircraft, and produces its training and

manuals for the 777-200 and its other lines of aircraft – Americans build these planes and they

have the greatest interest in seeing they are safe and built right.


                                        CONCLUSION
       For the foregoing reasons, Plaintiffs request this Honorable Court deny Defendants

MAS’s and MAB’s Rule 12(b)(1) motion to dismiss their complaints on the ground of Forum

Non Conveniens.


July 21, 2017                          Respectfully submitted,


                                                        /s/Mary Schiavo
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                                 CERTIFICATE OF SERVICE

       The undersigned certifies that, on July 21, 2017, pursuant Fed. R. Civ. P. 5 and LCvR 5.3,

a true and correct copy of the foregoing PLAINTIFFS’ OPPOSITION TO MALAYSIAN

AIRLINE SYSTEM BERHAD’S (ADMINISTRATOR APPOINTED) AND MALAYSIA

AIRLINE      BERHAD’S        RULE      12(b)(1)    MOTION       TO   DISMISS     PLAINTIFFS’

COMPLAINTS ON THE GROUND OF FORUM NON CONVENIENS was filed with the

Clerk of Court using the CM/ECF System, which will send notification of such filing to the

attorneys of record at the email addresses on file with the Court.


                                                       /s/Mary Schiavo
                                                       Mary Schiavo




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